     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 1 of 12 Page ID #:1



     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   101 S. Western Ave., Second Floor
     Los Angeles, CA 90004
 3   Telephone: (213) 252-8008
     Facsimile: (213) 252-8009
 4   scalequalaccess@yahoo.com
 5   Attorneys for Plaintiff
     KENNETH DAVIDSON
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     KENNETH DAVIDSON,
11               Plaintiff,                    COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12         vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
     8500 ROSEMEAD LLC; and DOES 1 to          2. CALIFORNIA’S UNRUH CIVIL
15   10,                                       RIGHTS ACT;
16               Defendants.                   3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
23
24         Plaintiff KENNETH DAVIDSON (“Plaintiff”) complains of Defendants 8500

25   ROSEMEAD LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:

26   //

27   //

28   //



                                       COMPLAINT - 1
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 2 of 12 Page ID #:2




 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with paraplegia secondary to MVA damaging T7 and is substantially limited in
 4   his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling
 5   in public.
 6           2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for a restaurant
 8   (“Business”) located at or about 8500 Rosemead Blvd., Pico Rivera, California.
 9           3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21           5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.)



                                              COMPLAINT - 2
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 3 of 12 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and Plaintiff’s causes of action arose in this district.
 9                                  FACTUAL ALLEGATIONS
10         10.    In or about June of 2022, Plaintiff went to the Business.
11         11.    The Business is a restaurant business establishment, open to the public, and
12   is a place of public accommodation and affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendant failed to maintain the parking space designated for persons
20                       with disabilities to comply with the federal and state standards.
21                       Defendants failed to maintain the paint on the ground as required.
22                b.     Defendants failed to maintain the parking space designated for
23                       persons with disabilities to comply with the federal and state
24                       standards. Defendants failed to maintain the mark on the space with
25                       the International Symbol of Accessibility.
26                c.     Defendant failed to maintain the parking space designated for persons
27                       with disabilities to comply with the federal and state standards.
28




                                             COMPLAINT - 3
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 4 of 12 Page ID #:4




 1                       Defendants failed to provide the access aisles with level surface
 2                       slopes.
 3         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
 5   Business, however, Plaintiff is deterred from visiting the Business because his knowledge
 6   of these violations prevents him from returning until the barriers are removed.
 7         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 8   there are additional barriers to accessibility at the Business after further site inspection.
 9   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
10   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
11         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
12   knew that particular barriers render the Business inaccessible, violate state and federal
13   law, and interfere with access for the physically disabled.
14         17.    At all relevant times, Defendants had and still have control and dominion
15   over the conditions at this location and had and still have the financial resources to
16   remove these barriers without much difficulty or expenses to make the Business
17   accessible to the physically disabled in compliance with ADDAG and Title 24
18   regulations. Defendants have not removed such barriers and have not modified the
19   Business to conform to accessibility regulations.
20                                   FIRST CAUSE OF ACTION
21       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
22         18.    Plaintiff incorporates by reference each of the allegations in all prior
23   paragraphs in this complaint.
24         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
25   shall be discriminated against on the basis of disability in the full and equal enjoyment of
26   the goods, services, facilities, privileges, advantages, or accommodations of any place of
27   public accommodation by any person who owns, leases, or leases to, or operates a place
28   of public accommodation. See 42 U.S.C. § 12182(a).



                                            COMPLAINT - 4
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 5 of 12 Page ID #:5




 1         20.   Discrimination, inter alia, includes:
 2               a.    A failure to make reasonable modification in policies, practices, or
 3                     procedures, when such modifications are necessary to afford such
 4                     goods, services, facilities, privileges, advantages, or accommodations
 5                     to individuals with disabilities, unless the entity can demonstrate that
 6                     making such modifications would fundamentally alter the nature of
 7                     such goods, services, facilities, privileges, advantages, or
 8                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 9               b.    A failure to take such steps as may be necessary to ensure that no
10                     individual with a disability is excluded, denied services, segregated or
11                     otherwise treated differently than other individuals because of the
12                     absence of auxiliary aids and services, unless the entity can
13                     demonstrate that taking such steps would fundamentally alter the
14                     nature of the good, service, facility, privilege, advantage, or
15                     accommodation being offered or would result in an undue burden. 42
16                     U.S.C. § 12182(b)(2)(A)(iii).
17               c.    A failure to remove architectural barriers, and communication barriers
18                     that are structural in nature, in existing facilities, and transportation
19                     barriers in existing vehicles and rail passenger cars used by an
20                     establishment for transporting individuals (not including barriers that
21                     can only be removed through the retrofitting of vehicles or rail
22                     passenger cars by the installation of a hydraulic or other lift), where
23                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
24               d.    A failure to make alterations in such a manner that, to the maximum
25                     extent feasible, the altered portions of the facility are readily
26                     accessible to and usable by individuals with disabilities, including
27                     individuals who use wheelchairs or to ensure that, to the maximum
28                     extent feasible, the path of travel to the altered area and the



                                          COMPLAINT - 5
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 6 of 12 Page ID #:6




 1                       bathrooms, telephones, and drinking fountains serving the altered
 2                       area, are readily accessible to and usable by individuals with
 3                       disabilities where such alterations to the path or travel or the
 4                       bathrooms, telephones, and drinking fountains serving the altered
 5                       area are not disproportionate to the overall alterations in terms of cost
 6                       and scope. 42 U.S.C. § 12183(a)(2).
 7         21.    Where parking spaces are provided, accessible parking spaces shall be
 8   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 9   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
10   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
11   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
12   be van parking space. 2010 ADA Standards § 208.2.4.
13         22.    For the parking spaces, access aisles shall be marked with a blue painted
14   borderline around their perimeter. The area within the blue borderlines shall be marked
15   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
16   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
17   be painted on the surface within each access aisle in white letters a minimum of 12 inches
18   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
19   11B-502.3.3.
20         23.    Here, Defendants failed to properly maintain the access aisles as there were
21   faded “NO PARKING” and faded blue lines painted on the parking surface.
22         24.    The surface of each accessible car and van space shall have surface
23   identification complying with either of the following options: The outline of a profile
24   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
25   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
26   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
27   length of the parking space and its lower side or corner aligned with the end of the
28   parking space length or by outlining or painting the parking space in blue and outlining



                                            COMPLAINT - 6
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 7 of 12 Page ID #:7




 1   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 2   occupant. See CBC § 11B-502.6.4, et seq.
 3         25.      Here, Defendants failed to maintain the mark on the surface with the
 4   International Symbol of Accessibility as required.
 5         26.      Under the 1991 Standards, parking spaces and access aisles must be level
 6   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 7   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 8   shall be part of an accessible route to the building or facility entrance and shall comply
 9   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
10   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
11   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
12   directions. 1991 Standards § 4.6.3.
13         27.      Here, there were large cracks and broken concrete that created an uneven
14   surface. Under the 2010 Standards, access aisles shall be at the same level as the parking
15   spaces they serve. Changes in level are not permitted. 2010 Standards § 502.4. “Access
16   aisles are required to be nearly level in all directions to provide a surface for transfer to
17   and from vehicles.” 2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is
18   permitted.
19         28.      A public accommodation shall maintain in operable working condition those
20   features of facilities and equipment that are required to be readily accessible to and usable
21   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
22         29.      By failing to maintain the facility to be readily accessible and usable by
23   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
24   regulations.
25         20.      The Business has denied and continues to deny full and equal access to
26   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
27   discriminated against due to the lack of accessible facilities, and therefore, seeks
28




                                             COMPLAINT - 7
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 8 of 12 Page ID #:8




 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         30.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         34.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




                                             COMPLAINT - 8
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 9 of 12 Page ID #:9




 1         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3   damages as specified in California Civil Code §55.56(a)-(c).
 4                                 THIRD CAUSE OF ACTION
 5               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6         36.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9   entitled to full and equal access, as other members of the general public, to
10   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15   places of public accommodations, amusement, or resort, and other places in which the
16   general public is invited, subject only to the conditions and limitations established by
17   law, or state or federal regulation, and applicable alike to all persons.
18         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19   corporation who denies or interferes with admittance to or enjoyment of public facilities
20   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22   the actual damages, and any amount as may be determined by a jury, or a court sitting
23   without a jury, up to a maximum of three times the amount of actual damages but in no
24   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25   determined by the court in addition thereto, suffered by any person denied the rights
26   provided in Section 54, 54.1, and 54.2.
27         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
28   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



                                            COMPLAINT - 9
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 10 of 12 Page ID #:10




 1     constitute a violation of this section, and nothing in this section shall be construed to limit
 2     the access of any person in violation of that act.
 3           40.    The actions and omissions of Defendants alleged herein constitute a denial
 4     of full and equal accommodation, advantages, and facilities by physically disabled
 5     persons within the meaning of California Civil Code § 54. Defendants have
 6     discriminated against Plaintiff in violation of California Civil Code § 54.
 7           41.    The violations of the California Disabled Persons Act caused Plaintiff to
 8     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9     statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                  FOURTH CAUSE OF ACTION
11                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12           42.    Plaintiff incorporates by reference each of the allegations in all prior
13     paragraphs in this complaint.
14           43.    Plaintiff and other similar physically disabled persons who require the use of
15     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16     such facility is in compliance with the provisions of California Health & Safety Code §
17     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18     provisions of California Health & Safety Code § 19955 et seq.
19           44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20     that public accommodations or facilities constructed in this state with private funds
21     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22     Title 1 of the Government Code. The code relating to such public accommodations also
23     require that “when sanitary facilities are made available for the public, clients, or
24     employees in these stations, centers, or buildings, they shall be made available for
25     persons with disabilities.
26           45.    Title II of the ADA holds as a “general rule” that no individual shall be
27     discriminated against on the basis of disability in the full and equal enjoyment of goods
28     (or use), services, facilities, privileges, and accommodations offered by any person who



                                             COMPLAINT - 10
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 11 of 12 Page ID #:11




 1     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2     Further, each and every violation of the ADA also constitutes a separate and distinct
 3     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4     award of damages and injunctive relief pursuant to California law, including but not
 5     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                     FIFTH CAUSE OF ACTION
 7                                           NEGLIGENCE
 8            46.    Plaintiff incorporates by reference each of the allegations in all prior
 9     paragraphs in this complaint.
10            47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12     to the Plaintiff.
13            48.    Defendants breached their duty of care by violating the provisions of ADA,
14     Unruh Civil Rights Act and California Disabled Persons Act.
15            49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16     has suffered damages.
17                                       PRAYER FOR RELIEF
18            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
19     Defendants as follows:
20            1.     For preliminary and permanent injunction directing Defendants to comply
21     with the Americans with Disability Act and the Unruh Civil Rights Act;
22            2.     Award of all appropriate damages, including but not limited to statutory
23     damages, general damages and treble damages in amounts, according to proof;
24            3.     Award of all reasonable restitution for Defendants’ unfair competition
25     practices;
26            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
27     action;
28            5.     Prejudgment interest pursuant to California Civil Code § 3291; and



                                              COMPLAINT - 11
     Case 2:22-cv-06151-SPG-MAR Document 1 Filed 08/30/22 Page 12 of 12 Page ID #:12




 1           6.     Such other and further relief as the Court deems just and proper.
 2                                DEMAND FOR TRIAL BY JURY
 3           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 4     demands a trial by jury on all issues so triable.
 5
 6     Dated: August 30, 2022                  SO. CAL. EQUAL ACCESS GROUP
 7
 8
 9                                             By:    _/s/ Jason J. Kim___________
                                                      Jason J. Kim, Esq.
10                                                    Attorneys for Plaintiff
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




                                             COMPLAINT - 12
